     Case 3:19-cv-02491-JLS-WVG Document 18 Filed 01/17/20 PageID.625 Page 1 of 2


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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    THE GEO GROUP, INC.,                               Case No.: 19-CV-2491 JLS (WVG)
12                                      Plaintiff,
                                                         ORDER GRANTING JOINT
13    v.                                                 MOTION RE: HEARING AND
                                                         BRIEFING DATES FOR MOTION
14    GAVIN C. NEWSOM, in his official
                                                         FOR PRELIMINARY INJUNCTION
      capacity as Governor of the State of
15                                                       AND MOTION TO DISMISS
      California; XAVIER BECERRA, in his
16    official capacity as Attorney General of
                                                         (ECF No. 17)
      the State of California,
17
                                    Defendants.
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20         Presently before the Court is Plaintiff The GEO Group, Inc. and Defendants
21   Governor Gavin Newsom and Attorney General Xavier Becerra’s Joint Motion re: Hearing
22   and Briefing Dates for Motion for Preliminary Injunction and Motion to Dismiss (“Joint
23   Mot.,” ECF No. 17). Good cause appearing, the Court GRANTS the Joint Motion.
24   Accordingly, the Court CONTINUES the hearing on Plaintiff’s Motion for Preliminary
25   Injunction and Defendants’ forthcoming Motion to Dismiss to April 23, 2020 at 1:30 p.m.
26   in Courtroom 4D. Defendants’ opposition to Plaintiff’s Motion for Preliminary Injunction,
27   which SHALL NOT EXCEED forty-one (41) pages, and Motion to Dismiss SHALL BE
28   FILED on or before March 5, 2020; Plaintiff’s combined reply in support of its Motion for

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                                                                             19-CV-2491 JLS (WVG)
     Case 3:19-cv-02491-JLS-WVG Document 18 Filed 01/17/20 PageID.626 Page 2 of 2


 1   Preliminary Injunction and in opposition to Defendants’ Motion to Dismiss SHALL BE
 2   FILED on or before March 26, 2020; and Defendants’ reply in support of their Motion to
 3   Dismiss SHALL BE FILED on or before April 9, 2020.
 4         IT IS SO ORDERED.
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 6   Dated: January 17, 2020
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